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6                              UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF WASHINGTON
7                                       AT SEATTLE
8

9                                                    )       Case No.: 2:17-cv-1374
                                                     )
10                                                           COMPLAINT;
     AMINA BALA,                                     )
11
                                                     )       FAIR DEBT COLLECTION PRACTICES
        Plaintiff,                                   )       ACT (15 U.S.C. § 1692a, et seq.);
12                                                   )
            vs.                                      )       DEMAND FOR JURY TRIAL
13                                                   )
14   ALLIANCEONE RECEIVABLES                         )
     MANAGEMENT, INC.,                               )
15                                                   )
        Defendant.                                   )
16

17                                         I. INTRODUCTION

18          1.       This is an action for damages brought by an individual consumer for Defendant’s
19
     violations of the federal Fair Debt Collection Practices Act, 15 U.S.C. § 1692, et seq. (hereinafter
20
     “FDCPA”).
21
                                           II. JURISDICTION
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23          2.       Plaintiff’s claim for violations of the FDCPA arises under 15 U.S.C. § 1692k(d),

24   and therefore involves a “federal question” pursuant to 28 U.S.C. § 1331.
25
                                              III. PARTIES
26
            3.       Plaintiff, Amina Bala (“Plaintiff”), is a natural person residing in King County,
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28
     Washington.

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1            4.      Defendant, AllianceOne Receivables Management, Inc. (“Defendant”), is a
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     corporation engaged in the business of collecting debts by use of the mails and telephone.
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     Defendant regularly attempts to collect debts alleged due another.
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                                     IV. FACTUAL ALLEGATIONS
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6            5.      Defendant is a “debt collector” as defined by the FDCPA, 15 U.S.C. § 1692a(6).

7            6.      Plaintiff is a “consumer” as defined by the FDCPA, 15 U.S.C. § 1692a(3).
8
             7.      All activities of Defendant set out herein were undertaken in connection with the
9
     collection of a “debt,” as defined by 15 U.S.C. § 1692a(5).
10

11
             8.      Within the last year, Defendant took multiple actions in an attempt to collect a debt

12   from Plaintiff. Defendant’s conduct violated the FDCPA in multiple ways, including the following.
13           9.      Using false representations or deceptive practices in connection with collection of
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     a debt, including but not limited to promising in a phone call on or about February 6, 2017, to send
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     Plaintiff some documents to validate the debt and failing to do so, misrepresenting the limitation
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17   period applying to the debt, and representing to Plaintiff that “they don’t let us know that

18   information,” pertaining to the county where the judgment resided. That was false because another
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     collector working for Defendant did have that information (§ 1692e(10)).
20
             10.     As a result of the aforementioned violations, Plaintiff suffered and continues to
21
     suffer injuries to Plaintiff’s feelings, personal humiliation, embarrassment, mental anguish and
22

23   severe emotional distress.

24           11.     Defendant intended to cause, by means of the actions detailed above, injuries to
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     Plaintiff’s feelings, personal humiliation, embarrassment, mental anguish and severe emotional
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     distress.
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28
             12.     Defendant’s actions, detailed above, were undertaken with extraordinary disregard

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1    of, or indifference to, known or highly probable risks to purported debtors.
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            13.     To the extent Defendant’s actions, detailed in paragraphs above, were carried out
3
     by an employee of Defendant, that employee was acting within the scope of his or her employment.
4
                  COUNT I: VIOLATION OF FAIR DEBT COLLECTION PRACTICES ACT
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6           14.     Plaintiff reincorporates by reference all of the preceding paragraphs.

7           15.     The preceding paragraphs state a prima facie case for Plaintiff and against
8
     Defendant for violations of the FDCPA.
9
                                         PRAYER FOR RELIEF
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11
            WHEREFORE, Plaintiff respectfully prays that judgment be entered against the Defendant

12   for the following:
13          A.      Declaratory judgment that Defendant’s conduct violated the FDCPA;
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            B.      Actual damages pursuant to 15 U.S.C. 1692k;
15
            C.      Statutory damages pursuant to 15 U.S.C. § 1692k;
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17          D.      Costs, disbursements and reasonable attorney’s fees for all successful claims, and

18   any unsuccessful claims arising out of the same transaction or occurrence as the successful claims,
19
     pursuant to 15 U.S.C. § 1692k; and,
20
            E.      For such other and further relief as may be just and proper.
21
                          PLAINTIFF HEREBY REQUESTS A TRIAL BY JURY
22

23                                                    Dated this 12th day of September, 2017

24

25                                                        By:___s/Joshua Trigsted _____
                                                          Joshua Trigsted, WSBA#42917
26                                                        Attorney for Plaintiff
27

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